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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS – MINNESOTA,
 LEAGUE OF WOMEN VOTERS OF
 MINNESOTA,                                      Civil Action No. 20‐CV‐2195
                                                 (NEB/BRT)
              Plaintiffs,

       v.                                        CONSENT MOTION TO ENTER
                                                 CONSENT DECREE
 ATLAS AEGIS LLC, ANTHONY
 CAUDLE, JOHN DOES #1-10,

              Defendants.


      Plaintiffs Council on American-Islamic Relations—Minnesota and League of

Women Voters of Minnesota (collectively, “Voter Organizations”), with the consent

of Defendants Atlas Aegis LLC and its chairman Anthony Caudle (collectively,

“Defendants”), ask this Court to approve their settlement in this action and issue

the proposed Consent Decree. The Defendants support this motion.

      The Voter Organizations’ complaint in this case alleges intimidation of voters

under Section 11(b) of the Voting Rights Act of 1965, 52 U.S.C. § 10307(b). The

proposed Consent Decree resolves all remaining issues in this lawsuit by subjecting

Defendants to specified requirements through January 1, 2025. The proposed

Consent Decree is within this Court’s jurisdiction, furthers the objectives of the

Voting Rights Act of 1965, is consistent with applicable federal and state law, and

imposes no unreasonable burdens on any third parties.



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      Therefore, the Voter Organizations ask this Court to sign and enter the

decree as final judgment in this action.

FOR PLAINTIFFS COUNCIL OF AMERICAN-ISLAMIC RELATIONS—
MINNESOTA AND LEAGUE OF WOMEN VOTERS OF MINNESOTA:


Date: February 3, 2021

                                 By:       /s/ Julia Dayton Klein

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